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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION
                                      )
DYSON, INC.,                          )
                                      )
           Plaintiff,                 ) Case No.: 1:14-cv-09442
                                      )
    v.                                ) Judge: Honorable Joan B. Gottschall
                                      )
SHARKNINJA OPERATING LLC and          ) JURY TRIAL DEMANDED
SHARKNINJA SALES COMPANY,             )
                                      )
           Defendants.                )
                                      )

                                  PLAINTIFF DYSON, INC.’S
                              MOTION FOR SUMMARY JUDGMENT

       Pursuant to Federal Rule of Civil Procedure 56 and Local Rule 56.1, Plaintiff Dyson,

Inc., (“Dyson”) by and through its undersigned attorneys, respectfully moves the Court to grant

summary judgment in its favor on Counts I (False Advertising under 15 U.S.C. § 1125), II

(Deceptive Trade Practices under 815 ILCS 510/1, et seq.), and III (False Advertising under

Illinois common law) of Dyson’s First Amended Complaint (Dkt. 153), and to grant summary

judgment to Dyson on SharkNinja’s First Affirmative Defense (unclean hands), Second

Affirmative Defense (laches), Third Affirmative Defense (estoppel), and Fourth Affirmative

Defense (waiver) (Dkt. 167 at 22–25). The grounds for this motion are set forth below and in

further detail in Dyson’s Memorandum of Law in Support of its Motion for Summary Judgment

and Local Rule 56.1 Statement of Undisputed Facts filed concurrently herewith.

       1.      Dyson succeeds on its Lanham Act claims by proving that: (1) Shark made a false

statement of fact; (2) the statement actually deceives or has the tendency to deceive a substantial

segment of its audience; (3) the deception is material in that it is likely to influence the

purchasing decision; (4) Shark touted goods entering interstate commerce; and (5) the statement
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results in actual or probable injury to the plaintiff. See Hot Wax, Inc. v. Turtle Wax, Inc., 191

F.3d 813, 819 (7th Cir. 1999). Dyson is moving for summary judgment on three separate bases.

First, Shark’s accused advertising claim that “independent lab testing” proves that its Shark

Rotator Powered Lift-Away vacuum “deep cleans carpets better than Dyson’s best vacuum,” is

literally false as a matter of law. The testing performed by Shark’s third-party laboratory

Intertek was not conducted “independently” of Shark. To the contrary, Shark’s head of testing

expressly told Intertek which suction setting on the Rotator Powered Lift-Away to use in

connection with the ASTM F608 test after Intertek had already begun testing the vacuum on a

different setting based on Intertek’s own independent reading of the Rotator Powered Lift-Away

manual, thus improperly inflating the results.     As a result, Dyson is entitled to summary

judgment for the entire timeframe that Shark claimed “independent lab tests” prove its ad claim.

Second, in addition to Shark’s purported substantiation testing not being “independent,” Shark

did not have any testing to support its ad claim from July 8, 2014, to August 12, 2014. Third,

again in addition to Shark’s purported substantiation testing not being “independent,” Shark has

no external testing that substantiates its claim against Dyson’s Re-Engineered Ball Multi-Floor

vacuum, which is Dyson’s “best vacuum” in terms of carpet cleaning performance. Because

Shark’s claim makes explicit reference to tests [i.e., is an establishment claim], Dyson may

satisfy its burden by showing that Shark’s tests do not prove the proposition. See BASF v. Old

World Trading Co., Inc., 41 F.3d 1081, 1090 (7th Cir. 1994). Because the accused advertising

claim is literally false, Dyson is entitled to a presumption of consumer deception. Market Track,

LLC v. Efficient Collaborative Retail Marketing, LLC, No. 14 C 4957, 2015 WL 3637740, at *20

(N.D. Ill. June 12, 2015). As set forth in Dyson’s Memorandum of Law, Shark’s literally false

claim challenging the carpet-cleaning performance of Dyson’s “best vacuum” is material to




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consumer purchasing decisions and resulted in actual injury to Dyson. Shark does not dispute

that Shark’s accused advertising claim was made in connection with goods sold in interstate

commerce and was disseminated nationally. Accordingly, there is no genuine dispute of material

fact that Dyson satisfies all of the elements of its Lanham Act false advertising claim, and the

Court should enter summary judgment in Dyson’s favor on that claim.

       2.     Dyson’s state law claims (Counts II and III) rise and fall with Dyson’s Lanham

Act claim under Count I. Because Dyson has established liability under Count I as a matter of

law, Dyson is also entitled to summary judgment on Counts II and III.

       3.     Shark’s affirmative defense of unclean hands, alleging that Dyson failed to

remove its “Twice the Suction” claim from the market quickly enough following the release of

the NV650, fails as a matter of law because there is no “direct nexus” between the alleged

improper conduct and Dyson’s false-advertising claim against Shark. Intertek USA Inc. v.

AmSpec, LLC, No. 14 CV 6160, 2014 WL 4477933, at *7 (N.D. Ill. Sept. 11, 2014). The Court

should enter summary judgment in Dyson’s favor on this defense.

       4.     Shark failed to develop legally sufficient evidence to support its defenses of

laches, waiver, and estoppel, and summary judgment should be granted to Dyson with respect to

each one. With respect to laches, Shark cannot establish that Dyson unreasonably delayed as a

matter of law, and Shark adduced no evidence of prejudice to Shark resulting from any such

alleged delay. Shark’s waiver defense fails as a matter of law because none of the evidence

Shark relies upon shows that Dyson intentionally relinquished a known right or that Dyson

manifested any such intention to Shark. Shark’s estoppel defense fails because Shark identified

no act or misrepresentation by Dyson that Shark reasonably relied upon and as a consequence

changed Shark’s position for the worse. Therefore, as a matter of law, Shark cannot prevail on




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its laches, waiver, and estoppel defenses and summary judgment in favor of Dyson is

appropriate.

       WHEREFORE, Dyson respectfully requests this Court enter summary judgment in

Dyson’s favor.

                          REQUEST FOR ORAL ARGUMENT

       In accordance with Local Rule 78.3, Dyson respectfully requests oral argument on this

Motion.

Dated: April 25, 2016                        Respectfully submitted,


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                                CERTIFICATE OF SERVICE

       I hereby certify that on April 25, 2016, the foregoing document was filed electronically

through the Court’s Electronic Case Filing System. Service of this document is being made upon

all counsel of record in this case by the Notice of Electronic Filing issued through the Court’s

Electronic Case Filing System on this date.



                                              By: /s/ Robin A. McCue




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